Case 2:21-cv-09197-DSF-MRW Document 1-3 Filed 11/23/21 Page 1 of 17 Page ID #:172




                                        EXHIBIT 3




   Sharp v. Shinhan et al., Exhibit 3
   GB001 Subscription, Page 1 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-3 Filed 11/23/21 Page 2 of 17 Page ID #:173




   Sharp v. Shinhan et al., Exhibit 3
   GB001 Subscription, Page 2 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-3 Filed 11/23/21 Page 3 of 17 Page ID #:174
Case 2:21-cv-09197-DSF-MRW Document 1-3 Filed 11/23/21 Page 4 of 17 Page ID #:175




   Sharp v. Shinhan et al., Exhibit 3
   GB001 Subscription, Page 4 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-3 Filed 11/23/21 Page 5 of 17 Page ID #:176




   Sharp v. Shinhan et al., Exhibit 3
   GB001 Subscription, Page 5 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-3 Filed 11/23/21 Page 6 of 17 Page ID #:177




   Sharp v. Shinhan et al., Exhibit 3
   GB001 Subscription, Page 6 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-3 Filed 11/23/21 Page 7 of 17 Page ID #:178




   Sharp v. Shinhan et al., Exhibit 3
   GB001 Subscription, Page 7 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-3 Filed 11/23/21 Page 8 of 17 Page ID #:179




   Sharp v. Shinhan et al., Exhibit 3
   GB001 Subscription, Page 8 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-3 Filed 11/23/21 Page 9 of 17 Page ID #:180




   Sharp v. Shinhan et al., Exhibit 3
   GB001 Subscription, Page 9 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-3 Filed 11/23/21 Page 10 of 17 Page ID #:181




   Sharp v. Shinhan et al., Exhibit 3
   GB001 Subscription, Page 10 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-3 Filed 11/23/21 Page 11 of 17 Page ID #:182




   Sharp v. Shinhan et al., Exhibit 3
   GB001 Subscription, Page 11 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-3 Filed 11/23/21 Page 12 of 17 Page ID #:183




   Sharp v. Shinhan et al., Exhibit 3
   GB001 Subscription, Page 12 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-3 Filed 11/23/21 Page 13 of 17 Page ID #:184




   Sharp v. Shinhan et al., Exhibit 3
   GB001 Subscription, Page 13 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-3 Filed 11/23/21 Page 14 of 17 Page ID #:185




   Sharp v. Shinhan et al., Exhibit 3
   GB001 Subscription, Page 14 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-3 Filed 11/23/21 Page 15 of 17 Page ID #:186




   Sharp v. Shinhan et al., Exhibit 3
   GB001 Subscription, Page 15 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-3 Filed 11/23/21 Page 16 of 17 Page ID #:187




   Sharp v. Shinhan et al., Exhibit 3
   GB001 Subscription, Page 16 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-3 Filed 11/23/21 Page 17 of 17 Page ID #:188




   Sharp v. Shinhan et al., Exhibit 3
   GB001 Subscription, Page 17 of 17
